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 5
     Attorney for Defendant
 6   GEO NENG MA
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                          IN THE UNITED STATES DISTRICT COURT
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                   IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA
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12
     THE UNITED STATES OF             )                2:14-cr-00330-GEB
13   AMERICA,                         )
                                      )                STIPULATION AND [PROPOSED]
14              Plaintiff,            )                ORDER CONTINUING STATUS
                                      )                CONFERENCE
15   v.                               )
                                      )
16   GEO NENG MA, and ASHLEY          )
     CHANG,                           )
17                                    )
                Defendants.           )
18   ________________________________ )
19   Plaintiff United States of America, by and through its counsel of record, and defendants,
20   by and through their counsels of record, hereby stipulate as follows:
21          1.     By previous order, this matter was set for status on January 9, 2015.
22          2.     By this stipulation, defendants now move to continue the status conference
23   until February 20, 2015 at 9:00 am in Courtroom 10 and to exclude time between January
24   9, 2015 and February 20, 2015 under Local Code T4. Plaintiff does not oppose this
25   request.
26          3.     The parties agree and stipulate, and request that the Court find the
27   following:
28          a.     Counsels for defendants desire additional time to conduct additional
                   investigation, consult with their clients, to review the current charges, and
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 1                research related to the charges, and to discuss potential resolutions with
 2                their clients.
 3         b.     Counsels for defendants believe that failure to grant the above-requested
 4                continuance would deny them the reasonable time necessary for effective
 5                preparation, taking into account the exercise of due diligence.
 6         c.     The government does not object to the continuance.
 7         d.     Based on the above-stated findings, the ends of justice served by continuing
 8                the case as requested outweigh the interest of the public and the defendants
 9                in a trial within the original date prescribed by the Speedy Trial Act.
10         e.     For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. §
11                3161, et seq., within which trial must commence, the time period of January
12                9, 2015 to February 20, 2015 inclusive, is deemed excludable pursuant to 18
13                U.S.C.§ 3161(h)(7)(A), B(iv) and Local Code T4 because it results from a
14                continuance granted by the Court at defendants’ request on the basis of the
15                Court's finding that the ends of justice served by taking such action
16                outweigh the best interest of the public and the defendants in a speedy trial.
17         4.     Nothing in this stipulation and order shall preclude a finding that other
18                provisions of the Speedy Trial Act dictate that additional time periods are
19                excludable from the period within which a trial must commence.
20   IT IS SO STIPULATED.
     Dated: January 5, 2015                     /s/ Christiaan H. Highsmith
21                                            CHRISTIAAN H. HIGHSMITH
                                              Assistant U.S. Attorney
22
     Dated: January 5, 2015                     /s/ John R. Duree, Jr.
23                                            JOHN R. DUREE, JR.
                                              Attorney for GEO NENG MA
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     Dated: January 5, 2015                    /s/ Timothy Zindel
25                                            TIMOTHY ZINDEL
                                              Attorney for ASHLEY CHANG
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 1                                   ORDER
 2
           IT IS SO FOUND AND ORDERED.
 3   Dated: January 8, 2015
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 6                                  GARLAND E. BURRELL, JR.
                                    Senior United States District
 7                                  Judge

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